        Case 1:23-cv-10511-WGY Document 157 Filed 08/31/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                    Plaintiffs,

  v.                                                 Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                    Defendants.


                                  NOTICE OF APPEARANCE

       Pursuant to Local Rule 83.5.3, please enter the appearance of the undersigned Trial

Attorney in the above-captioned case as counsel for Plaintiff United States of America.



                                            Respectfully submitted,


Dated: August 31, 2023                      /s/ Brendan Sepulveda
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